                        Case No. 2024-1097

            UNITED STATES COURT OF APPEALS
               FOR THE FEDERAL CIRCUIT


                         GOOGLE LLC,
                         Plaintiff-Appellee,

                                 v.

                         SONOS, INC.,
                       Defendant-Appellant.


           Appeal from the United States District Court for
                the Northern District of California,
          Case Nos. 3:20-cv-06754 & 3:21-cv-07559-WHA
                       Judge William Alsup


 CORRECTED BRIEF OF AMICUS CURIAE THE PUBLIC INTEREST
PATENT LAW INSTITUTE IN SUPPORT OF APPELLEE GOOGLE LLC
                   AND AFFIRMANCE

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                          CERTIFICATE OF INTEREST

       Pursuant to Federal Circuit Rules 29(a) and 47.4, counsel for The Public

Interest Patent Law Institute certifies that:

       1.     The full name of the amicus curiae I represent is: The Public Interest

Patent Law Institute.

       2.     The name of the real party in interest (if the party named in the caption

is not the real party in interest) I represent is: N/A.

       3.     All parent corporations and any publicly held companies that own 10

percent or more of the stock of the amicus curiae I represent are: None.

       4.     The names of all law firms and the partners or associates that appeared

for the amicus curiae I represent or are expected to appear in this Court (and who

have not or will not enter an appearance in this case) are: None.

      5.      The title and number of any case known to counsel to be pending in this

or any other court or agency that will directly affect or be directly affected by this

Court’s decision in the pending appeal: Sonos, Inc. v. Google LLC, Fed. Cir. Case

No. 2024-1097.




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      6. All information required by Federal Rules of Appellate Procedure 26.1(b)

and 26.1(c) that identifies organizational victims in criminal cases and debtors and

trustees in bankruptcy cases is: None.

May 31, 2024                                 /s/ Phillip R. Malone

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                       INTEREST OF AMICUS CURIAE

      The Public Interest Patent Law Institute (“PIPLI”) is a nonprofit, nonpartisan

public interest organization dedicated to ensuring the patent system promotes

innovation and access for the benefit of all members of the public.1, 2

      Many people who contribute to and depend on technological advances do not

acquire or assert patents, including researchers, open source technology developers,

small businesses, farmers, and patients. These constituencies often have difficulty

navigating the patent system and rarely find their interests adequately represented,

especially in patent cases between private parties that decide issues affecting their

lives. Their absence makes it more difficult for the patent system to strike a balance

that promotes innovation effectively and equitably.

      PIPLI works to improve the patent system’s ability to strike this balance. In

service of its mission, PIPLI provides assistance, education, and counseling to

people navigating the patent system; conducts policy research; and advocates for the

public interest in court and agency proceedings, including by filing amicus briefs on



1
  No party’s counsel authored this brief in whole or in part, and no party or party’s
counsel made a monetary contribution intended to fund its preparation or
submission. No person other than the amicus or counsel contributed money to fund
preparation or submission of this brief. This brief is filed with the consent of both
parties.
2
  Amicus thanks Stanford Law School Juelsgaard Intellectual Property and
Innovation Clinic Certified Law Students Gregory Schwartz and Lane Miles for
substantial assistance in drafting this brief.

                                             1
consequential issues of patent law and policy. See, e.g., Amgen Inc. v. Sanofi, 598

U.S. 594 (2023), In re Nimitz Techs. LLC, No. 2023-103, 2022 WL 17494845 (Fed.

Cir. Dec. 8, 2022), United States v. Allergan, Inc., 46 F.4th 991 (9th Cir. 2022),

OpenSky Indus., LLC v. VLSI Tech. LLC, No. IPR2021-01064, 2022 WL 4963049

(P.T.A.B. Oct. 4, 2022).

      Members of the public beyond the parties to this case have a strong interest in

preserving the doctrine of prosecution laches and the protection it provides. This

doctrine protects people who engage in activities or buy products that fall outside

the claims of a granted patent for years until the patent’s owner obtains new claims

with new boundaries but offers no explanation for its delay in filing them. Without

this protection, the flexibility given to patent owners to alter the scope of previously

granted claims via continuation applications would erode the public’s capacity to

rely on a patent’s claims to determine what is and is not foreclosed. This would have

a devastating effect on innovation, competition, and consumers.

      As detailed in this brief, the protection provided by the doctrine of prosecution

laches is vitally important to independent technology developers, startups, and small

businesses because they are most dependent on the clarity of patent claims to

minimize risk and avoid litigation. Because claims define a patent owner’s rights,

they also inform other members of the public what they may—and may not—do

without the patent owner’s permission. If the doctrine of prosecution laches were to


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diminish, so too would the reliability of patent claims in defining a patent owner’s

rights. This would make it even more difficult for others to determine which

activities are permissible, increasing risks that deter research, development, and

business. Over time, the result would be more litigation but less innovation—

deadweight losses that the public would bear.

        The public thus has a strong interest in preserving the doctrine of prosecution

laches and the protection it provides for technology creators and users alike.

                                    ARGUMENT

 I.     The Purpose of a Patent Is to Provide Notice of a Claimed Invention to
        the Public.

        The patent system furthers scientific progress by granting limited exclusive

rights to individuals who create and publicly disclose novel inventions. This

mutually beneficial exchange of limited exclusivity for public disclosure is the heart

of the patent system. But this bargain only works if patents provide reasonably clear

notice of what they do and do not claim. If the scope of granted patents becomes too

murky or malleable, they will cast a shadow of doubt over the space available for

innovation by others, increasing the risk of litigation and deterring the innovation

the patent system is meant to encourage.

      A. The Public Notice Function of Patent Claims Is Critically Important.

        Patents exist “[t]o promote the Progress of Science.” U.S. Const. art. I, § 8,

cl. 8. By conditioning grants of exclusive rights on the disclosure of new and useful


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inventions, the patent system achieves its public purpose by providing private

incentives. As such, the Patent Act explicitly requires patent applicants to

“particularly point[] out and distinctly claim[]” their inventions. See 35 U.S.C.

§ 112(b). The importance of this requirement cannot be overstated.

      The Supreme Court has explained that the patent laws require inventors to

describe their work in “full, clear, concise, and exact terms,” as part of the “delicate

balance the law attempts to maintain between inventors, who rely on the promise of

the law to bring the invention forth, and the public, which should be encouraged to

pursue innovations, creations, and new ideas beyond the inventor’s exclusive

rights.” Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 731

(2002) (citations omitted). And the Court has emphasized that “[t]he limits of a

patent must be known for the protection of the patentee, the encouragement of the

inventive genius of others, and the assurance that the subject of the patent will be

dedicated ultimately to the public.” General Elec. Co. v. Wabash Appliance Corp.,

304 U.S. 364, 369 (1938).

      While specifications describe and enable others to make and use an

applicant’s invention, claims define what a patent does and does not cover. See, e.g.,

Festo, 535 U.S. at 731 (“A patent holder should know what he owns, and the public

should know what he does not.”); see also Warner-Jenkinson Co. v. Hilton Davis

Chem. Co., 520 U.S. 17, 29 (1997) (recognizing the “definitional and public-notice


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functions” of patent claims); PSC Computer Prod., Inc. v. Foxconn Int’l, Inc., 355

F.3d 1353, 1360 (Fed. Cir. 2004) (“The ability to discern both what has been

disclosed and what has been claimed is the essence of public notice.”). This

delineation is critical. If the public cannot distinguish what a patent claims from what

it merely discloses, there is neither the notice nor the clarity that innovation requires.

See White v. Dunbar, 119 U.S. 47, 52 (1886) (“The claim is a statutory requirement,

prescribed for the very purpose of making the patentee define precisely what his

invention is; and it is unjust to the public, as well as an evasion of the law, to construe

it in a manner different from the plain import of its terms.”).

      The notice that patent claims provide is no mere formality; it is critical to the

patent system’s ability to foster invention and enterprise. The Supreme Court has

recognized that when patents fail to “clearly circumscribe what is foreclosed from

future enterprise,” they create “[a] zone of uncertainty which enterprise and

experimentation may enter only at the risk of infringement claims,” and thus

“discourage invention only a little less than unequivocal foreclosure of the field.”

United Carbon Co. v. Binney & Smith Co., 317 U.S. 228, 236 (1942).

      The notice provided by patent claims thus represents both the heart of the

patent bargain and a prerequisite for the patent system to fulfill the Constitution’s

mandate of promoting scientific progress.




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   B. Equitable Doctrines Protect the Public Notice Function of Patents.

      Although the public notice function of claims is critically important, “the

nature of language makes it impossible to capture the essence of a thing in a patent

application.” Festo, 535 U.S. at 731. Accordingly, patent owners are given

substantial flexibility to transcend the literal bounds of claim language through

various mechanisms, including the doctrine of equivalents and continuation

applications. These mechanisms, however, are not and must not become limitless.

Without limits, they would erode the clarity of patent claims and thus the public’s

ability to rely on them for notice of a patent’s scope.

      The Supreme Court has recognized the potential conflict between the public

notice function of patent claims and mechanisms that give flexibility to patent

applicants. For example, the Court has warned “that the doctrine of equivalents,

when applied broadly, conflicts with the definitional and public-notice functions of

the statutory claiming requirement.” Warner-Jenkinson, 520 U.S. at 29. The

potential for conflicts with the public notice function of patent claims therefore

necessitates limits on mechanisms providing such flexibility. See id. at 29–30 (“So

long as the doctrine of equivalents does not encroach beyond the limits just

described, or beyond related limits[,] . . . the doctrine will not vitiate the central

functions of the patent claims themselves.”).




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       In the doctrine of equivalents context, the limits provided by equitable

doctrines, such as prosecution history estoppel and the dedication-disclosure

doctrine, play a crucial role in ensuring patents continue to provide adequate public

notice. Prosecution history estoppel bars patent holders from recapturing subject

matter with the doctrine of equivalents when that subject matter was ceded during

patent prosecution. See id. at 30. In barring recapture in such circumstances,

“prosecution history estoppel places reasonable limits on the doctrine of equivalents,

and further insulates the doctrine from any feared conflict with the Patent Act[’s]”

requirement that a “patentee specifically ‘claim’ the invention covered by a patent.”

Id. at 25, 34.

       Likewise, the dedication-disclosure rule holds that when patentees disclose

subject matter but do not claim it, that unclaimed subject matter is dedicated to the

public and cannot be recaptured through the doctrine of equivalents. This rule

reinforces “the primacy of the claims in defining the scope of the patentee’s

exclusive right.” Johnson & Johnston Assocs., Inc. v. R.E. Serv. Co., 285 F.3d 1046,

1054 (Fed. Cir. 2002) (en banc). For example, in PSC, this Court recognized the

possibility that the doctrine of equivalents could undermine the public notice

function of patent claims—“[w]ere the patentee allowed to reclaim some

specifically-disclosed-but-unclaimed matter under the doctrine of equivalents, the

public would have no way of knowing which disclosed matter infringed and which


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did not”—and emphatically warned that “[s]uch a reclamation would eviscerate the

public notice function of patents and create uncertainty in the law.” PSC, 355 F.3d

at 1360.

      While language is limited, so is the flexibility afforded to patent owners

because of it. When that flexibility threatens the reliability of patent claims, equitable

doctrines are especially appropriate mechanisms for ensuring claims can fulfill their

primary function—defining a patent owner’s rights.

   C. Prosecution Laches Is an Essential Limit on Patent Claims Acquired
      After Unreasonable Delays and Asserted to Prejudicial Effect.

      Like prosecution history estoppel and the dedication-disclosure rule,

prosecution laches serves as an equitable check on the flexibility provided to patent

owners. While prosecution history estoppel arises from statements made to obtain

patents, prosecution laches arises from unreasonable delays in obtaining patents that

would be prejudicial to overlook.

      Prosecution laches is especially critical in mitigating and remedying abuses

of continuation applications because these applications are, by definition, filed later

in time than other patent applications to which they are related. See generally Mark

A. Lemley & Kimberly A. Moore, Ending Abuse of Patent Continuations, 84 B.U.

L. Rev. 63, 65 (2004) (recognizing the role of prosecution laches in “mitigat[ing]

some of the worst abuses of the continuation [application] process”). Continuation

applications contain new claims but rely on earlier-filed applications for their

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priority dates and written description. 35 U.S.C. § 120; see, e.g., Symbol Techs.,

Inc. v.         Lemelson        Med.,       Educ.         &        Rsch.        Found.,

429 F.3d 1051, 1052 (Fed. Cir. 2005); see also Lemley & Moore, supra, at 66–71.

Critically, there are no statutory limits on the timeliness of continuation applications.

See Br. for the Nat’l Retail Fed. as Amicus Curiae Supporting Appellee [hereinafter

Br. for Nat’l Retail Fed.] at 16 (“[N]o statutory time limit governs seeking enlarged

claims in a continuing application.”).

          Prosecution laches is an especially important doctrine because there are so

few limits on continuation patents. There is no limit on the timeliness or number of

continuation applications that patentees can file so long as they keep an application

pending that is related to the filing with the earliest priority date. See 35 U.S.C.

§ 120; Lemley & Moore, supra, at 68. Substantively, the only limit on continuation

applications is that they must claim subject matter that the applications from which

they derive priority describe and enable. Lemley & Moore, supra, at 77; see also

Symbol Techs., 429 F.3d at 1052.

          While continuation applications do not give applicants “carte blanche to

rewrite their claims . . . [i]f the patentee can find some support in the original patent

application for the current claims, [they] can obtain legal rights over ideas that . . .

never occurred to [them] until [they] saw what others were already doing.” Lemley

& Moore, supra, at 77. As such, continuation applications give patent owners


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substantial flexibility that, without limits, can undermine the clarity of patent claims,

and thus of the notice they must provide. See id. at 100 n.153 (arguing that strong

limits on continuation applications are consistent with the courts’ repeated emphasis

on the importance of public notice).

      Permitting continuation applications to capture everything disclosed in an

earlier-filed application, regardless of time, reason, or prejudice, would vitiate the

key distinction between a patent’s claims and its specification—namely, that “claims

claim,” and “specifications teach.” SRI Int’l v. Matsushita Elec. Corp. of Am., 775

F.2d 1107, 1121 n.14 (Fed. Cir. 1985). This distinction, prescribed by statute and

enshrined in precedent, requires “that ‘[c]laims, not the specification embodiments,

define the scope of protection.’” Dow Chem. Co. v. Sumitomo Chem. Co., 257 F.3d

1364, 1378 (Fed. Cir. 2001) (citation omitted).

      Moreover, giving patent owners unfettered discretion to obtain new claims

with old priority dates via continuation applications would risk that the patent system

impedes innovation rather than spurs it. “As commentators have noted, the patent

system must balance encouraging pioneering inventions and encouraging

improvements. Strategic claim changes may hold-up legitimate improvers or

independent inventors, reducing their ability and incentive to innovate.” Lemley &

Moore, supra, at 78–79 (citations omitted).




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      Because continuation applications allow patent owners to claim developments

arising after the priority dates on which their applications rely, they exacerbate the

danger that strategic changes to the scope of a patent owner’s rights will undermine

the patent system by “bring[ing] about an undue extension of the patent monopoly.”

Webster Elec. Co. v. Splitdorf Elec. Co., 264 U.S. 463, 466 (1924). Given the

absence of other limitations on continuation applications, prosecution laches fulfills

a critical and otherwise unmet need for safeguards on continuations that are filed

after unreasonable delays and asserted to prejudicial effect.

      This safeguard remains vital even after changes made to the terms of granted

patents in the Uruguay Round Agreements Act (“URAA”). Uruguay Round

Agreements Act § 532, 35 U.S.C. § 154(a). Those changes mandated that

continuation applications expire on the same date as the patents from which they

derive priority. Id.; see Lemley & Moore, supra, at 80. They did not address or

eliminate potential conflicts between the flexibility afforded by continuation practice

and the public notice function of patent claims. As such, they do not address the

concerns that prosecution laches does because those concerns arise from

unreasonably delayed and prejudicial expansions of an existing patent’s scope. See

Br. for Nat’l Retail Fed. at 11–12 (“[Prosecution] laches can apply in any case in

which the patentee has unreasonably and without explanation enlarged its claims to

the prejudice of the public.”). These concerns are distinct and independent from


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those URAA addressed, which arise from unwarranted extensions of a patent’s term.

Prosecution laches therefore remains an essential and singular safeguard against

abuses of continuation practice.

      In other contexts, this Court has recognized that the URAA’s changes to

patent terms did not obviate the need for pre-existing doctrines that protect the public

from undue expansions of patents rights. For example, in AbbVie Inc. v. Mithilda &

Terence Kennedy Inst. of Rheumatology Tr., 764 F.3d 1366 (Fed. Cir. 2014), this

Court rejected the argument that the URAA eliminated the doctrine of obviousness-

type double patenting. As the Court explained, that doctrine has a broader purpose

than the URAA amendments: it “is designed to prevent an inventor from securing a

second, later expiring patent for the same invention.” Id. at 1373. Because “[t]hat

problem still exists,” so does the need for the doctrine. Id.

      So too here. Even after these changes to patent terms, continuation patents

allow their owners to obtain new claims on subject matter disclosed in older

applications, without regard to the passage of time, the rationale for the delay, or the

impact of issuance on people who have spent years making or using products that

would infringe the new claims. Because “[t]hat problem still exists,” so does the

need for prosecution laches. Id.




                                              12
II.     The Public Has a Strong Interest in Ensuring Prosecution Laches
        Continues to Prevent the Enforcement of Patent Claims Obtained After
        Unreasonable Delays and Asserted to Prejudicial Effect.

        If district courts cannot apply prosecution laches in cases involving conduct

of the kind that occurred here, the bar for its application would be too high for it to

have a meaningful effect in practice. Applying prosecution laches here ensures the

doctrine is available when patent owners wait for years to file claims on publicly

available subject matter while keeping their applications hidden from public view.3

The District Court’s application of the doctrine was a sound exercise of discretion

that will ensure justice in this case while enabling the patent system to foster an

ecosystem in which small businesses and independent technology developers can

create, compete, and thrive.

      A. Appellant’s Delayed Filing and Secret Application Were Unreasonable.

        The prosecution of the patent claims at issue was egregiously unreasonable.4

Thirteen years passed between the filing of the Appellant’s original application and


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  Amicus focuses on the issue of prosecution laches both because the public’s interest
in the doctrine is so great and because its application is only more appropriate in
light of the District Court’s findings in this case, including that Appellant omitted
the disclosures relied on to support its later-filed claims from its original application
and added them only with the later filing. See Appx83. Such conduct can hardly
justify an exemption from an equitable doctrine.
4
   Prosecution laches requires finding that the applicant’s “unreasonable and
unexplained” delay in prosecution “prejudice[d]” others. See Hyatt v. Hirshfeld, 998
F.3d 1347, 1360 (Fed. Cir. 2021). Given the compelling evidence supporting the
District Court’s finding of prejudice to Appellee, see Appx82–84, this Brief focuses


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filing of these claims. Appx79-80. During that time, multiple different products with

the late-claimed features were designed, built, and disseminated to the public.

Appx71. Yet, for most of that time (seven years), the priority-conferring application

was unpublished and therefore not available to the public. Appx66. As such, neither

product developers nor consumers could have known that those features might be

withdrawn from the public domain and claimed in a later continuation application.

      Thirteen years is an egregiously long delay, despite Appellant’s contention to

the contrary. Opening Br. for Appellant Sonos Inc., at 33–34. As a landmark study

found, “the median amount of time patents spend in prosecution from their earliest

filing date to issuance is 2.04 years; the mean is 2.4.” Lemley & Moore, supra, at

113. In light of this data, the study’s authors recommended that a presumption of

prosecution laches arise when eight years pass between the filing of the application

providing priority and the issuance of later-filed claims. Id.

      Permitting enforcement of the claims in this case would be especially unjust

given the secrecy shrouding the application from which those claims derive priority.

For seven years, the public was denied access to the application due to the patent

owner’s request for nonpublication. Appx66. Amendments in 2000 requiring default




on the prejudicial effect of Appellant’s prosecution conduct, including its
unreasonable and unexplained delay, on people and organizations beyond the parties
to this case.


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publication of patent application were specifically designed to give the public notice

of relevant patent claims before their issuance.5 See Domestic Publication of Foreign

Filed Patent Applications Act of 1999 § 4502, 35 U.S.C. § 122. But the patent

owner’s nonpublication request deprived the public of such notice in this case.

      The fact that Appellant did not violate statutory provisions or USPTO

regulations by waiting thirteen years to file claims or requesting nonpublication does

not undermine the District Court’s discretion to apply equitable limits on the

enforceability of those claims. As scholars have observed, prosecution laches “is an

equitable defense and therefore ought to apply even where a patentee did not violate

the letter of the law, but where equity would dictate that the unreasonable delay

renders the patent unenforceable.” Lemley & Moore, supra, at 116.

      The egregious nature of the delay in this case makes it unlikely that an

affirmance would disturb continuation practice. The relevant continuation

application was filed so many years after the parent application that it stands out

from the vast majority of continuation applications, 90% of which are filed within a

decade of their priority date. See Br. for the George Washington University Law

School Intellectual Property and Technology Law Clinic as Amicus Curiae


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  “Patent applications filed before 2000 were kept secret unless and until they issued
as patents. As a result, competitors could not know whether patent applications were
pending that might cover their products. The passage of time might reduce the risk
that a patent would be issued covering a particular technology, but it could never
eliminate that risk.” Lemley & Moore, supra, at 73.

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Supporting Appellant [hereinafter Br. for GW IP Clinic], at 8 (noting that only

53,719 out of 671,966 patents granted from continuation applications from 2014-

2023 had a filing date more than a decade after their priority date).

      Moreover, it is rare for applicants to opt out of publication: fewer than 10%

of applications remain unpublished after 18 months. See Stuart Graham & Deepak

Hegde, Disclosing Patents’ Secrets, 347 Science 236 app. at 8 tbl.S1 (2015). And

while applicants often delay prosecution to find out whether an invention is

“commercially valuable,” Br. for GW IP Clinic, supra, at 12 (citation omitted),

Appellant knew that the technology was embedded in widely available products for

more than five years before claiming it. Appx71. These circumstances distinguish

the claims in this case from most claims in continuation patents and confirms the

doctrine will only apply when unreasonable delay and prejudice are present. Failing

to apply it, however, could disturb continuation practice by giving other patent

owners carte blanche to follow Appellant’s example by using nonpublished

applications to support long-delayed claims.

      Indeed, courts have been applying the doctrine to similar prosecution conduct

for over a century. For example, in 1924 the Supreme Court held a patent

unenforceable after an applicant waited eight years to file a divisional patent

application and claim new subject matter. Webster, 264 U.S. at 465. In doing so, the

Court emphasized that the applicant’s decision to “simply st[and] by and wait[]”—


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rather than claim the inventions sooner—was particularly unreasonable because

“the[] subject-matter [of the claims] was . . . in general use.” Id. Cases like the one

here, with decade-long delays and widespread use of the later-claimed invention, fit

comfortably into the Webster mold. Id.; see Personalized Media Commc’ns, LLC v.

Apple Inc., 57 F.4th 1346, 1352 (Fed. Cir. 2023) (applying prosecution laches where

the applicant “hid[] its technologies, quietly monitor[ed] infringement, and roll[ed]

out patents over time”).

   B. Small Businesses and Independent Inventors Are Most Dependent on
      the Public Notice that Patent Claims Provide and Most Vulnerable to
      Long-Delayed Claims Such as These.

      Small businesses and independent inventors are a key part of America’s

innovation ecosystem. A “disproportionate number” of the most important

technological advances “started in the minds of small-scale, independent inventors.”

Joe Matal, The Importance of Independent Inventors to America—and America’s

Economy, U.S. Pat. & Trademark Off.: Dir.’s F. Blog (Nov. 8, 2017, 11:00 AM)

[https://perma.cc/M2QK-Z6WP]. The protection that prosecution laches provides is

most critical to these kinds of small entities.

      Scholars have found that continuation applications are more likely to be used

by large corporate patentees than “smaller pioneering inventors.” Deepak Hegde et

al., Pioneering Inventors or Thicket Builders: Which U.S. Firms Use Continuations

in Patenting?, 55 Mgmt. Sci. 1214, 1222 (2009); see also Cesare Righi et al.,



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Continuing Patent Applications at the USPTO, 52 Rsch. Pol’y Art. 104742, at 2

(2023) (finding the same). Notably, “a particular type of applicant with strong

incentives to delay claim drafting to achieve advantages in patent licensing and

assertion are IP-producing Patent Assertion Entities (PAEs),” which, unsurprisingly,

rely heavily on continuation applications. Righi et al., supra, at 5.

      While big companies and PAEs may benefit from permissive continuation

practices, small businesses, independent developers, and others with limited

resources are extremely vulnerable to the costs that long-delayed claims can impose.

As the USPTO recognizes, these constituencies are particularly sensitive to the

financial costs of the patent system. See USPTO Fee Schedule, U.S. Pat. &

Trademark Off. (May 3, 2024) [https://perma.cc/MWH5-DQRR] (offering reduced

filing fees for small and micro entities).

      Importantly, the brunt of these costs is imposed through litigation, not patent

prosecution. The costs of responding to infringement allegations are far greater than

the cost of obtaining and maintaining a patent. On average, the total cost to file and

maintain a U.S. patent is between $20,000 and $25,000 (and potentially far less for

small entities eligible for reduced fees), while the cost of a low stakes patent case in

2019 was about $700,000 in court and $250,000 at the Patent and Trial Appeal

Board. See Anthony De Andrade & Venkatesh Viswanath, Estimating the Cost for

Filing, Obtaining and Maintaining Patents Across the Globe, IPWatchdog,


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(Aug. 28, 2016, 6:45 AM) [https://perma.cc/6FXN-BFGM]; Am. Intell. Prop. Law

Assoc., Report of the Economic Survey 50, 52 (2019), available at

https://perma.cc/WN3C-CRJK. Because the doctrine does not alter routine

continuation practice, retaining prosecution laches will not increase an applicant’s

cost of obtaining a patent. Contra Br. for GW IP Clinic at 15–20. It only requires

that applicants avoid adding claims unreasonably late and asserting them

prejudicially.

      Removing prosecution laches, however, will increase the risk of liability and

litigation for everyone. And this risk will be greatest for the small businesses with

limited resources that PAEs frequently target. See Exec. Off. of the President, Patent

Assertion and U.S. Innovation 7 (2013) [https://perma.cc/L84H-DLLA]. It will also

be greatest for companies on the brink of successful major funding events like initial

public offerings, when legal uncertainty can have an outsized impact on a company’s

future. Robin Feldman & Evan Frondorf, Patent Demands and Initial Public

Offerings, 19 Stan. Tech. L. Rev. 52, 87 (2015).

      The burdens on small entities would be especially great in cases such as this

one, where claims prosecuted with unreasonable delay rely on disclosures in

appendixes to unpublished patent applications. Appx66, 83. Small businesses would

be forced to spend their limited resources on what the District Court described as an

“exercise in archeology,” Appx82, all in hopes of predicting what claims may appear


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many years after an application is filed. Such expensive scrutiny is burdensome and

disruptive, diverting funds from productive activities like research towards

potentially futile attempts to find a needle in a sea of haystacks. The District Court’s

decision ensures, rightly, that the patent system encourages investment in new

innovations instead.

   C. Preserving the Longstanding Doctrine of Prosecution Laches Will
      Preserve Positive Trends in U.S. Innovation and Economic Growth.

      The Supreme Court has applied equitable doctrines, including prosecution

laches, to prevent the “undue extension of the patent monopoly against private and

public rights” for at least a century. Webster, 264 U.S. at 466. These doctrines have

been a part of the patent system in recent years as well as during the period from the

late nineteenth to the early twentieth century considered the “golden age” of

American innovation. Ufuk Akcigit, John Grigsby & Tom Nicholas, When America

Was    Most    Innovative,    and    Why,    Harv.    Bus.    Rev.    (Mar. 6,   2017)

[https://perma.cc/2VQV-9PMZ]. While other amici express concerns about the

patent system’s current “strength,” see Br. for the Alliance of U.S. Startups &

Inventors for Jobs as Amicus Curiae Supporting Appellant [hereinafter Br. for

USIJ], at 4, 16-19, such concerns are both irrelevant and unfounded.

      First, policy concerns alone, even if supported and compelling, are not enough

to justify overturning this Court’s precedent confirming that prosecution laches is a

viable defense. See, e.g., PMC, 57 F.4th at 1346. It is the law. Complaints about the

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evolution of patent law over the past two decades may justify congressional or

administrative action but cannot overcome the command of stare decisis.

      Second, prosecution laches strengthens the quality and reliability of the patent

system. During prosecution, no matter how flawed a patent application is, “[t]here

is no way an examiner can ever cause a determined [patent] applicant to go away,

although allowing the applicant’s patent claims increases the chance that the case

will finally be disposed of.” Lemley & Moore, supra, at 68. This gives examiners a

powerful incentive to grant applications even if they fall short of the Patent Act’s

requirements.

      In addition, a patent issued from a long-pending family—with claims whose

prosecution was unreasonable and unexplained—could be asserted against inventors

who relied on the scope of previously granted claims in the family. Prosecution

laches can ensure that these investors do not suffer for relying on existing patent

claims to discern the metes and bounds of a patent owner’s rights. In doing so, the

doctrine strengthens the patent system. For that reason, scholars have proposed

establishing a (rebuttable) presumption of prosecution laches that arises whenever

an application’s pendency lasts more than eight years. Lemley & Moore, supra, at

113. While such a change is not at issue here, this proposal underscores the value of

prosecution laches to the functioning of the patent system.




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       Third, no evidence from the past twenty years suggests that changes in patent

protection have negatively affected investments in domestic innovation. Contra Br.

for USIJ at 17–18. To the contrary, data from the Organisation of Economically

Developed Countries shows that research and development intensity in the U.S. has

increased by nearly 40% over the past two decades. See Org. of Economically

Developed Countries, Main Science and Technology Indicators, Volume 2022 Issue

2, at 11 (2022), available at https://perma.cc/JWF5-6XTA (showing an increase

from 2.5% of GDP in 2005 to 3.46% of GDP in 2021). Research and development

intensity is an important “gauge of innovative activity” that captures research

spending as a share of GDP. Kristie M. Engemann, How Is Innovation Measured?,

Fed.   Rsrv.    Bank    of   St.   Louis:    Open    Vault    Blog    (June 9,   2021)

[https://perma.cc/VA5U-PM35] (explaining research and development intensity).

Much of that U.S. growth of is attributable to private investment in research, which

increased by over nearly 50%. See Org. of Economically Developed Countries,

supra, at 20.

       As a result, the United States continues to lead the way in creating the critical

technologies of the future, like artificial intelligence (AI). For example, more than

“70% of the AI papers cited most since 2020 are authored by researchers from

institutions and organizations in the U.S.” US Leads World on Gen AI Investment,




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Innovation and Implementation, PYMNTS (Oct. 24, 2023) [https://perma.cc/7P8Z-

8D3M].

      Evidence shows that the patent system supports our country’s position as a

global leader in innovation. Eliminating or diminishing the doctrine of prosecution

laches would for the first time expose technology creators and users to uncertainty

and risk that, because of precedents of this Court and the Supreme Court, they have

never before faced. Neither authority nor reason justifies creating new impediments

to innovation that the patent system is supposed to promote.

                                   CONCLUSION

      Applying prosecution laches in cases of unreasonable and unexplained delay

with prejudicial effect is critical to ensure the patent system provides adequate notice

to the public. Amicus respectfully urges the Court to affirm.

May 31, 2024                                   Respectfully submitted,

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      I hereby certify as follows:

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